      Case 4:10-cr-00281 Document 107 Filed on 06/07/11 in TXSD Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-10-281
                                                 §
                                                 §
ROBERT VEAZIE, et al.                            §

                                         ORDER

       Defendant Robert Veazie filed an unopposed motion for continuance, (Docket Entry

No.101). The co defendants and the government are unopposed to the motion. The court

finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   October 24, 2011
       Responses are to be filed by:                 November 14, 2011
       Interim Pretrial Conference is set for:       November 21, 2011, at 9:00 a.m.
       Pretrial conference is reset to:              January 3, 2012, at 8:45 a.m.
       Jury trial and selection are reset to:        January 12, 2012, at 9:00 a.m.


              SIGNED on June 7, 2011, at Houston, Texas.

                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
